      Case 4:19-cv-07123-PJH       Document 573   Filed 03/06/25    Page 1 of 27




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17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20                                      )         Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC.              )         PLAINTIFFS’ NOTICE OF MOTION
22                                      )         AND MOTION TO EXCLUDE THE
                      Plaintiffs,       )         EXPERT TESTIMONY OF JOSHUA J.
23                                      )         MINKLER
             v.                         )
24
                                        )           Date: April 10, 2025
25    NSO GROUP TECHNOLOGIES LIMITED )              Time: 2:00 p.m.
      and Q CYBER TECHNOLOGIES LIMITED, )           Ctrm: 3
26                                      )           Judge: Hon. Phyllis J. Hamilton
                      Defendants.       )           Action Filed: October 29, 2019
27                                      )
                                        )
28
                                  [PUBLIC REDACTED VERSION]
        Case 4:19-cv-07123-PJH                       Document 573                Filed 03/06/25              Page 2 of 27




                                                          TABLE OF CONTENTS
 1

 2                                                                                                                                           PAGE

 3 MEMORANDUM OF POINTS AND AUTHORITIES .....................................................................1

 4 BACKGROUND .................................................................................................................................4

 5              I.         Mr. Minkler’s Background ...........................................................................................4
 6              II.        Mr. Minkler’s Report ...................................................................................................4
 7              III.       Mr. Minkler’s Deposition .............................................................................................5
 8 LEGAL STANDARD ..........................................................................................................................6

 9 ARGUMENT .......................................................................................................................................6

10              I.         Mr. Minkler’s Testimony Should Be Excluded Because His Opinions Are
                           Irrelevant to the Issues Remaining to Be Decided in This Case ..................................7
11
                II.        Mr. Minkler Is Not Qualified to Opine on Whether U.S. or Foreign Law
12                         Enforcement Could Legally Use Pegasus ..................................................................10
13              III.       Mr. Minkler’s Opinions Should Be Excluded Because They Are Not Reliable ........12
14              IV.        Mr. Minkler’s Testimony Should Be Excluded under Rule 403 Because of the
                           Substantial Risk of Unfair Prejudice, Confusing the Jury, and Wasting Time..........19
15
      CONCLUSION ..................................................................................................................................20
16

17

18

19

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21

22

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26

27

28
                                                        i
      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
        Case 4:19-cv-07123-PJH                      Document 573               Filed 03/06/25             Page 3 of 27




                                                      TABLE OF AUTHORITIES
 1

 2                                                                     CASES
 3
                                                                                                                                     PAGE(S)
 4
   Aguilar v. Int’l Longshoremen’s Union Local No. 10,
 5   966 F.2d 443 (9th Cir. 1992) ........................................................................................................ 7

 6 Am. Honda Motor Co. v. Allen,
      600 F.3d 813 (7th Cir. 2010) ...................................................................................................... 17
 7
   Avila v. Willits Env’t Remediation Tr.,
 8    633 F.3d 828 (9th Cir. 2011) ...................................................................................................... 10
 9 Brice v. Haynes Invs., LLC,
      548 F. Supp. 3d 882 (N.D. Cal. 2021) .......................................................................................... 7
10
   Caldwell v. City of S.F.,
11    2021 WL 1391464 (N.D. Cal. Apr. 13, 2021) ............................................................................ 16
12 Cooper v. Brown,
      510 F.3d 870 (9th Cir. 2007) ........................................................................................................ 7
13
   Crow Tribe of Indians v. Racicot,
14
      87 F.3d 1039 (9th Cir. 1996) ........................................................................................................ 7
15
   Daubert v. Merrell Dow Pharms., Inc.,
16    509 U.S. 579 (1993) .................................................................................................................. 6, 7

17 Dep’t of Toxic Substances Control v. Technichem, Inc.,
     2016 WL 1029463 (N.D. Cal. Mar. 15, 2016) ..................................................................... 13, 18
18
   Doe v. Bridges to Recovery, LLC,
19   2021 WL 4690830 (C.D. Cal. May 19, 2021) ............................................................................ 16

20 Elosu v. Middlefork Ranch Inc.,
      26 F.4th 1017 (9th Cir. 2022) ............................................................................................... 12, 17
21
   Exeltis USA Inc. v. First Databank, Inc.,
22    2020 WL 7025089 (N.D. Cal. Nov. 30, 2020) ........................................................................... 18
23 Giganews, Inc. v. Perfect 10, Inc.,
      2019 WL 1422723 (C.D. Cal. Mar. 13, 2019) ............................................................................ 16
24
   Gold v. Lumber Liquidators, Inc.,
25    323 F.R.D. 280 (N.D. Cal. Nov. 15, 2017) ................................................................................. 17
26 Hardeman v. Monsanto Co.,

27   997 F.3d 941 (9th Cir. 2021) .................................................................................................... 7, 8

28

                                                        ii
      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
        Case 4:19-cv-07123-PJH                      Document 573               Filed 03/06/25             Page 4 of 27




      Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc.,
 1
         87 F. Supp. 3d 928 (N.D. Cal. 2015) .......................................................................................... 15
 2
   Illuminia, Inc. v. BGI Genomics Co., Ltd,
 3     2021 WL 4979799 (N.D. Cal. Oct. 27, 2021) .............................................................................. 9

 4 Kumho Tire Co. v. Carmichael,
      526 U.S. 137 (1999) ................................................................................................................ 6, 13
 5
   Laux v. Mentor Worldwide, LLC,
 6    295 F. Supp. 3d 1094 (C.D. Cal. Nov. 8, 2017), aff’d, 786 Fed. App’x 84 (9th Cir. 2019). ...... 18

 7 In re Leap Wireless Int’l, Inc.,
       301 B.R. 80 (Bankr. S.D. Cal. 2003) .......................................................................................... 17
 8
   Lin v. Solta Medical, Inc.,
 9     2024 WL 5199905 (N.D. Cal. Dec. 23, 2024) ........................................................................ 7, 17
10 Lord Abbett Mun. Income Fund, Inc. v. Asami,
      2014 WL 3417941 (N.D. Cal. July 11, 2014) ............................................................................ 18
11
   Medo v. Super. Ct.,
12    251 Cal. Rptr. 924 (Cal. Ct. App. 1988) ....................................................................................... 8
13 Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress,

14    480 F. Supp. 3d 1000 (N.D. Cal. 2020), aff’d, 2022 WL 13613963 (9th Cir. Oct. 21, 2022) ... 16

15 Pooshs v. Phillip Morris USA, Inc.,
      287 F.R.D. 543 (N.D. Cal. 2012) .................................................................................................. 6
16
   Primiano v. Cook,
17    598 F.3d 558 (9th Cir. 2010) ........................................................................................................ 7

18 Retamosa v. Target Corp.,
       2021 WL 4499236 (C.D. Cal. May 4, 2021) .............................................................................. 19
19
   In re Ripple Labs, Inc. Litig.,
20     2024 WL 4583525 (N.D. Cal. Oct. 24, 2024) ........................................................................ 6, 13
21 Rogers v. Raymark Indus., Inc.,
     922 F.2d 1426 (9th Cir. 1991) .................................................................................................... 20
22
   SEC v. Reyes,
23   2007 WL 963422 (N.D. Cal. Mar. 30, 2007) ............................................................................. 14
24 Serna v. Costco Wholesale Corp.,

25    2024 WL 4720884 (C.D. Cal. Sept. 16, 2024) ........................................................................... 19

26 Shannon v. United States,
      512 U.S. 573 (1994) .................................................................................................................... 19
27
   Siqueiros v. Gen. Motors LLC,
28    2022 WL 74182 (N.D. Cal. Jan. 7, 2022) ................................................................................... 18

                                                        iii
      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
        Case 4:19-cv-07123-PJH                      Document 573               Filed 03/06/25             Page 5 of 27




      Stanley v. Novartis Pharms. Corp.,
 1
         2014 WL 12573393 (C.D. Cal. May 6, 2014) ............................................................................ 17
 2
   State Farm Mut. Auto. Ins. Co. v. Campbell,
 3    538 U.S. 408 (2003) ...................................................................................................................... 8

 4 Stephens v. Union Pac. R.R. Co.,
      935 F.3d 852 (9th Cir. 2019) ...................................................................................................... 16
 5
   Sullivan v. U.S. Dep’t of Navy,
 6    365 F.3d 827 (9th Cir. 2004) ........................................................................................................ 6

 7 Surgical Instrument Serv. Co. v. Intuitive Surgical, Inc.,
      2024 WL 1975456 (N.D. Cal. Mar. 31, 2024) ........................................................................... 10
 8
   Takeda Pharms. U.S.A., Inc. v. Par Pharm. Cos., Inc.,
 9    2015 WL 13877466 (D. Del. Nov. 24, 2015) ......................................................................... 9, 11
10 ThermoLife Int’l, LLC v. Gaspari Nutrition Inc.,
      648 F. App’x 609 (9th Cir. 2016) ......................................................................................... 13, 17
11
   United States v. Cerna,
12    2010 WL 11627594 (N.D. Cal. Dec. 17, 2010) .......................................................................... 12
13 United States v. Hankey,

14   203 F.3d 1160 (9th Cir. 2000) ................................................................................................ 6, 12

15 United States v. Harris,
     863 F.2d 887 (9th Cir. 1988) ...................................................................................................... 19
16
   United States v. Hermanek,
17   289 F.3d 1076 (9th Cir. 2002) .............................................................................................. 14, 15

18 United States v. Holguin,
     51 F.4th 841 (9th Cir. 2022), cert. denied, 143 S. Ct. 2509 (2023) ............................................ 12
19
   United States v. Simpson,
20   460 F.2d 515 (9th Cir. 1972) ...................................................................................................... 19
21 United States v. Valencia-Lopez,
      971 F.3d 891 (9th Cir. 2020) ...................................................................................................... 12
22
   Venture Corp. v. Wherify Wireless, Inc.,
23    2005 WL 5960919 (C.D. Cal. Sept. 23, 2005) ........................................................................... 18
24 Waymo LLC v. Uber Techs., Inc.,

25   2018 WL 646701 (N.D. Cal. Jan. 30, 2018) ............................................................................... 16

26 In re Wells Fargo & Co. S’holder Derivative Litig.,
       445 F. Supp. 3d 508 (N.D. Cal. 2020), aff’d, 845 F. App’x 563 (9th Cir. 2021) ................. 16, 17
27
   Williams v. Illinois,
28     567 U.S. 50 (2012) ................................................................................................................ 15, 16

                                                        iv
      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
        Case 4:19-cv-07123-PJH                       Document 573                 Filed 03/06/25              Page 6 of 27




                                                                STATUTES & RULES
 1
      18 U.S.C. §§ 2510–23 ...................................................................................................................... 10
 2
      18 U.S.C. §§ 3121–27 ...................................................................................................................... 10
 3
      Fed. R. Civ. P. 26 ....................................................................................................................... 13, 14
 4
      Fed. R. Evid. 403 ..................................................................................................................... passim
 5
      Fed. R. Evid. 702 ..................................................................................................................... passim
 6

 7
                                                               OTHER AUTHORITIES
 8
      Exec. Order No. 14093, 88 FR 18957 (Mar. 27, 2023) .......................................................................8
 9
      Foreign Intelligence Surveillance Act..............................................................................2, 7, 8, 10, 11
10
   Press Release, Fact Sheet: President Biden Signs Executive Order to Prohibit U.S. Government
11 Use of Commercial Spyware that Poses Risks to National Security, The White House (Mar. 27,
   2023), https://bidenwhitehouse.archives.gov/briefing-room/statements-releases/2023/03/27/fact-
12 sheet-president-biden-signs-executive-order-to-prohibit-u-s-government-use-of-commercial-
   spyware-that-poses-risks-to-national-security/ ............................................................................. 8, 9
13
   Press Release, U.S. Dep’t of Com., Commerce Adds NSO Group and Other Foreign Companies to
14 Entity List for Malicious Cyber Activities, U.S. Dep’t of Commerce (Nov. 3, 2021),

15 https://www.commerce.gov/news/press-releases/2021/11/commerce-adds-nso-group-and-other-
   foreign-companies-entity-list ...............................................................................................................9
16
   Title III of the Omnibus Crime Control and Safe Streets Act of 1968 ............................2, 5, 6, 10, 11
17

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                                                        v
      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25      Page 7 of 27




 1          NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY
 2          PLEASE TAKE NOTICE THAT, on April 10, 2025 at 2:00 p.m. in Courtroom 3 of the U.S.
 3 District Court for the Northern District of California, Plaintiffs WhatsApp LLC and Meta Platforms,

 4 Inc. will and hereby do move to exclude the testimony of Joshua J. Minkler, who Defendants NSO

 5 Group Technologies Ltd. and Q Cyber Technologies Ltd. (collectively, “NSO”) have designated as

 6 an expert. This Motion is based upon this Notice of Motion and Motion, the accompanying

 7 Memorandum of Points and Authorities, the Declaration of Gina Cora and all exhibits thereto, the

 8 pleadings and papers on file in this action, and on such other written and oral argument as may be

 9 presented to the Court.

10                        MEMORANDUM OF POINTS AND AUTHORITIES
11          The Court should exclude NSO’s proffered expert, Joshua J. Minkler, a former federal
12 prosecutor in Indianapolis, from opining about the potential use of NSO’s spyware by law

13 enforcement. Mr. Minkler’s opinions should be excluded under Federal Rule of Evidence 702 and

14 Daubert for several reasons, including because they are irrelevant, he is unqualified to give them,

15 and his opinions are unreliable. They should also be excluded under Federal Rule of Evidence 403

16 because of the substantial risk of unfair prejudice to Plaintiffs, jury confusion, and wasted time.

17           First, Mr. Minkler’s testimony should be excluded because it is irrelevant. Given the Court’s
18 ruling on liability, the only question for the jury at the upcoming damages trial is how much NSO

19 owes Plaintiffs in damages for NSO’s violation of the federal and state computer hacking statutes

20 and NSO’s breach of WhatsApp’s Terms of Service. Mr. Minkler’s proffered opinions—which are

21 all related to lawful surveillance of electronic communications by law enforcement—do not “help

22 the trier of fact understand the evidence or determine a fact in issue” with respect to determining

23 damages in this civil litigation. Fed. R. Evid. 702(a). Indeed, even if the Court had not already found

24 NSO’s conduct was unlawful, Mr. Minkler’s testimony would be irrelevant. Unlike the examples

25 that Mr. Minkler cites in his report, the attacks at issue in this case had no connection to U.S. federal

26 law enforcement, nor were they authorized by any U.S. court.

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH        Document 573         Filed 03/06/25     Page 8 of 27




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 4                                                                . At bottom, Mr. Minkler’s opinions are
 5 about the hypothetical benefit of Pegasus to U.S. law enforcement if U.S. law enforcement were to

 6 use Pegasus.

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                                             Mr. Minkler’s testimony, which is unrelated to any actual facts
10 here, should be excluded under Rule 702 as irrelevant.

11           Second, even if testimony about hypothetical uses of Pegasus by law enforcement were
12 relevant, Mr. Minkler is not qualified under Rule 702 to opine on that topic, either with respect to

13 U.S. or foreign law enforcement.

14

15                                                                                                      Mr.
16 Minkler has never published, researched, or taught anything—nor is he qualified to theorize on how

17 law enforcement could use Pegasus consistent with Title III and FISA. Mr. Minkler relies on his

18 experience prosecuting criminal cases in Indianapolis as the basis for his testimony, but that

19 experience is itself limited and stale. In his 26 years as a federal prosecutor, Mr. Minkler had occasion

20 to be involved in cases in which Title III wiretaps were used to investigate crimes and two cases

21 involving FISA warrants.

22                                                                                      With respect to the
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH          Document 573        Filed 03/06/25      Page 9 of 27




 1 legality of using Pegasus by foreign law enforcement under foreign law, Mr. Minkler has no expert

 2 qualifications whatsoever.

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 7          Third, Mr. Minkler’s opinions should be excluded because they are unreliable. For example,
 8 Mr. Minkler’s opinions on the hypothetical use of Pegasus by U.S. law enforcement are not “based

 9 on sufficient facts or data” because there are no facts or data indicating that U.S. law enforcement

10 actually uses, or even intends to use, Pegasus. Fed. R. Evid. 702(b). Mr. Minkler also intends to

11 testify about the investigatory challenges posed by end-to-end encryption in law enforcement

12 investigations for which he has no personal experience, and instead relies on press releases he read.

13 This testimony is not “based on sufficient facts and data,” because Mr. Minkler has no knowledge of

14 the body of evidence and nuances of those investigations. He is just a conduit for hearsay. Also

15 noteworthy is that Mr. Minkler selects potentially prejudicial child sexual exploitation and terrorism

16 cases (that he was not involved in) to demonstrate the purported challenges law enforcement face

17 due to end-to-end encryption

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19                                                                                                      This
20 testimony will only waste the jury’s time and would at best confuse them.

21          Finally, Mr. Minkler’s testimony should also be precluded under Rule 403 because, among
22 other reasons, it is meant to support NSO’s policy argument that NSO should not be liable in this

23 case because its technology has a (theoretical) beneficial use to law enforcement. Not only has the

24 Court already found NSO liable, but the jury’s role is not to make policy determinations but rather

25 determine the appropriate damages in the case. Permitting Mr. Minkler to offer his opinions before

26 the jury, therefore, creates a substantial risk of unfair prejudice to Plaintiffs because jurors may

27 mistakenly believe that they should not award, or reduce, damages owed to Plaintiffs based on policy

28 considerations that are irrelevant to the remaining damages issues in this case.

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH              Document 573        Filed 03/06/25    Page 10 of 27




 1                                                BACKGROUND
 2         I.      Mr. Minkler’s Background
 3              Mr. Minkler received a law degree from Indiana University School of Law in 1988, where he
 4 took classes on criminal law and criminal procedure

 5                           , App. A;
 6

 7                                          After graduating from law school, Mr. Minkler worked as an
 8 Assistant Prosecuting Attorney for Kent County, Michigan from 1989 to 1994. Report ¶ 5. From

 9 1994 to 2020, Mr. Minkler then served in a variety of positions in the U.S. Attorney’s Office for the

10 Southern District of Indiana, including as the Acting, and confirmed, U.S. Attorney from 2014 to

11 2020. Report ¶ 5. Since 2020, Mr. Minkler has been a partner at Barnes & Thornburg, where he

12 represents white-collar defendants and individuals or entities being investigated for white-collar

13 crimes. Report, App. A; Tr. at 14:15–15:6. Mr. Minkler has not previously served as an expert

14 witness. Report ¶ 22; Tr. at 84:13–25. Mr. Minkler has not authored any publications on any topic

15 relevant to his purported expertise. Report ¶ 3 n.1, Tr. at 83:21–84:8, 96:2–10.

16

17        II.      Mr. Minkler’s Report
18              NSO served Plaintiffs with Mr. Minkler’s expert report on December 18, 2024. In his report,
19 Mr. Minkler offers opinions on four overarching topics:

20              1. “[T]he lawful interception and surveillance of communications by federal law
21                 enforcement officers;” Report ¶ 1; see also id. ¶¶ 35–40;
22              2. “[T]he unique investigatory challenges presented to state and federal law enforcement by
23                 end-to-end encryption and endpoint encryption;” id. ¶ 1; see also id. ¶¶ 41–49;
24              3. “Lawful Surveillance Used by Foreign Governments;” id. at 21; see also id. ¶¶ 50–54;
25                 and
26              4. “[T]he benefits of tools such as Pegasus in law enforcement and national security
27                 operations.” Id. ¶ 1; see also id. ¶¶ 55–62.
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH             Document 573         Filed 03/06/25    Page 11 of 27




 1              Mr. Minkler largely relies on publicly available documents in support of his opinions. See
 2 Report, App. B (Mr. Minkler’s “list of information considered,” most of which are published

 3 articles). Mr. Minkler considered just seven documents produced in discovery in this case, in addition

 4 to the complaint. Id. (listing eight bullets under “Documents Produced in this Litigation”).

 5

 6                                                                                             Mr. Minkler
 7 considered three “scholarly publications and treatises,” one of which is a treatise on the laws

 8 governing wiretapping and electronic surveillance that was published in 1975. Report, App. B; Tr.

 9 at 110:6–112:6.

10       III.      Mr. Minkler’s Deposition
11              Plaintiffs deposed Mr. Minkler on February 11, 2025.
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573         Filed 03/06/25      Page 12 of 27




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 9                                           LEGAL STANDARD
10          A witness who qualifies as an expert by knowledge, skill, experience, training, or education
11 may give an opinion on scientific, technical, or otherwise specialized topics “if the proponent

12 demonstrates to the court that it is more likely than not that: (a) the expert’s scientific, technical, or

13 other specialized knowledge will help the trier of fact understand the evidence or to determine a fact

14 in issue; (b) the testimony is based upon sufficient facts or data; (c) the testimony is the product of

15 reliable principles and methods; and (d) the expert’s opinion reflects a reliable application of the

16 principles and methods to the facts of the case.” Fed. R. Evid. 702; see also Pooshs v. Phillip Morris

17 USA, Inc., 287 F.R.D. 543, 546 (N.D. Cal. 2012) (citing Daubert v. Merrell Dow Pharms., Inc., 509

18 U.S. 579 (1993)). “The proponent of expert testimony bears the burden of establishing by a

19 preponderance of the evidence that the admissibility requirements are met.” In re Ripple Labs, Inc.

20 Litig., 2024 WL 4583525, at *1 (N.D. Cal. Oct. 24, 2024). The district court plays a “gatekeeping”

21 role to ensure that the proponent of an expert’s testimony satisfies its burden of demonstrating that

22 the testimony is admissible. Sullivan v. U.S. Dep’t of Navy, 365 F.3d 827, 833 (9th Cir. 2004) (citing

23 Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999)). Evidence must be both reliable and

24 relevant in order to be admissible, and the expert must be qualified with respect to the opinions

25 offered. United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000).

26                                               ARGUMENT
27          Mr. Minkler’s testimony should be excluded under Rule 702 and Daubert, as well as Rule
28 403, for several, independent reasons.

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 573        Filed 03/06/25     Page 13 of 27




 1       I.   Mr. Minkler’s Testimony Should Be Excluded Because His Opinions Are
 2            Irrelevant to the Issues Remaining to Be Decided in This Case
 3            “The court must determine whether the [proffered expert] testimony is ‘relevant to the task at
 4 hand.’” Lin v. Solta Medical, Inc., 2024 WL 5199905, at *1 (N.D. Cal. Dec. 23, 2024) (quoting

 5 Daubert, 509 U.S. at 597). “[R]elevance means that the evidence will assist the trier of fact to

 6 understand or determine a fact in issue.” Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007); see

 7 also Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010) (“The requirement that the opinion

 8 testimony assist the trier of fact goes primarily to relevance.” (quotation omitted)).

 9            Here, all of Mr. Minkler’s opinions “have no relevance to the legal and factual matters to be
10 resolved by the jury” and thus should be excluded. Brice v. Haynes Invs., LLC, 548 F. Supp. 3d 882,

11 903 (N.D. Cal. 2021). Mr. Minkler’s opinions all relate to conduct by federal law enforcement, which

12 is entirely unrelated to NSO’s conduct,

13               .4 Moreover, because the Court has already found NSO liable on Plaintiffs’ claims, “a
14 trial will proceed only on the issue of damages.” Dkt. No. 494 at 16. None of Mr. Minkler’s proffered

15 opinions have any relevance to the damages that NSO owes Plaintiffs.

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19            NSO has previously argued that Mr. Minkler’s testimony is relevant to punitive damages and
20 injunctive relief, see Dkt. No. 501 at 11–12, but neither argument withstands scrutiny.

21            Regarding punitive damages, NSO argues that Mr. Minkler’s testimony will help elucidate
22 whether “NSO ‘has been guilty of oppression, fraud or malice.’” Id. (citing Hardeman v. Monsanto

23

24   4
       In rendering his irrelevant opinions, Mr. Minkler also opines on the scope of Title III and FISA.
25   See, e.g., Report ¶¶ 37–38. These are irrelevant topics to any issue in this case, but they are also an
     improper subject of expert testimony, because the role of experts is to interpret and analyze factual
26   evidence and not to testify about the law. See, e.g., Crow Tribe of Indians v. Racicot, 87 F.3d 1039,
     1045 (9th Cir. 1996); Aguilar v. Int’l Longshoremen’s Union Local No. 10, 966 F.2d 443, 447 (9th
27   Cir. 1992) (stating that matters of law are “inappropriate subjects for expert testimony”). Setting
     aside that Title III and FISA are irrelevant to any fact issue the jury must determine, if anyone were
28   to be instructing the jury on Title III and FISA, it should be the Court, not Mr. Minkler.
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 14 of 27




 1 Co., 997 F.3d 941, 971 (9th Cir. 2021)).

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 4 Report, App. B (listing seven “documents produced in this litigation” other than the Complaint). 5

 5 Given Mr. Minkler’s lack of knowledge regarding NSO’s attacks of WhatsApp at issue in this case,

 6 his testimony is irrelevant to assessing whether NSO acted with oppression, fraud, or malice in

 7 connection with the attacks at issue. “Punitive damages are not simply recoverable in the abstract.

 8 They must be tied to oppression, fraud or malice in the conduct which gave rise to liability in the

 9 case.” Medo v. Super. Ct., 251 Cal. Rptr. 924, 926 (Cal. Ct. App. 1988); see State Farm Mut. Auto.

10 Ins. Co. v. Campbell, 538 U.S. 408, 422–23 (2003) (noting that with punitive damages, “[a] defendant

11 should be punished for the conduct that harmed the plaintiff”). Because Mr. Minkler’s opinions are

12 about speculative, hypothetical uses of Pegasus, they are unrelated to assessing whether NSO acted

13 with oppression, fraud, or malice in connection with the attacks at issue in this case.

14          Regarding the relevance of Mr. Minkler’s testimony to injunctive relief, NSO is also
15 incorrect. NSO argues that Mr. Minkler’s testimony “as to the public benefits of Pegasus and similar

16 technologies . . . bear[s] directly on the public harm that would result from an injunction interfering

17 with the operation of Pegasus or with the ongoing law enforcement investigations in which it is

18 currently being used.” Dkt. No. 501 at 15. NSO’s statement cannot be true.

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     In fact, in March 2023, President Biden signed an Executive Order banning “spyware that poses
   risks to national security.” Exec. Order No. 14093, 88 FR 18957 (Mar. 27, 2023). In the
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   accompanying press release, the White House referenced the U.S. Department of Commerce having,
27 in November 2021, added four foreign commercial entities “to the Entity List for engaging in the
   proliferation and misuse of cyber intrusion tools contrary to the national security or foreign policy
28 interests of the United States.” See Fact Sheet: President Biden Signs Executive Order to Prohibit
   U.S. Government Use of Commercial Spyware that Poses Risks to National Security (Mar. 27, 2023),
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573          Filed 03/06/25      Page 15 of 27




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 2                                      His report claims that “Pegasus has been used by several Western-
 3 style democracies,” but he expressly states that his conclusion is “[b]ased on public reporting.”

 4 Report ¶ 54; Tr. at 262:9–23. Any testimony by Mr. Minkler about the “public benefits” of Pegasus

 5 therefore is irrelevant, because that testimony lacks foundation as it is just based on a hypothetical

 6 situation, unrelated to the facts of this case. Cf. Takeda Pharms. U.S.A., Inc. v. Par Pharm.

 7 Companies, Inc., 2015 WL 13877466, at *1 (D. Del. Nov. 24, 2015) (“Finally, even assuming that

 8 the propriety of the Takeda label is relevant, it is a matter for the FDA’s determination. I am not

 9 inclined to resolve infringement on the basis of a hypothetical solution to a hypothetical FDA issue.”).

10          In any case, Plaintiffs’ entitlement to injunctive relief is a question for the Court, not the jury,
11 and so even if Mr. Minkler’s testimony were relevant to injunctive relief, Mr. Minkler’s testimony is

12 irrelevant to the jury. There is no scenario, therefore, in which Mr. Minkler should be permitted to

13 testify before the jury in a damages trial. See, e.g., Illuminia, Inc. v. BGI Genomics Co., Ltd, 2021

14 WL 4979799, at *9 (N.D. Cal. Oct. 27, 2021) (granting motion in limine to “[e]xclude evidence or

15 argument concerning alleged irreparable harm and evidence or argument that is solely related to

16 issues relevant to the request for injunction”); Cave Consulting Grp., LLC v. Optuminsight, Inc., No.

17 5:11-cv-469-EJD, Dkt. No. 294 at 3 (N.D. Cal. Feb. 23, 2015) (granting motion in limine and noting

18 that “neither side should introduce evidence or argument that is solely directed to the issue of whether

19 a permanent injunction should issue”); see also infra at 19–20 (explaining why the Court should

20 exclude Mr. Minkler’s testimony on Rule 403 grounds).

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24 https://bidenwhitehouse.archives.gov/briefing-room/statements-releases/2023/03/27/fact-sheet-

25 president-biden-signs-executive-order-to-prohibit-u-s-government-use-of-commercial-spyware-
   that-poses-risks-to-national-security/. One of those four referenced entities was NSO. See Press
26 Release, U.S. Dep’t of Com., Commerce Adds NSO Group and Other Foreign Companies to Entity
   List for Malicious Cyber Activities (Nov. 3, 2021), https://www.commerce.gov/news/press-
27 releases/2021/11/commerce-adds-nso-group-and-other-foreign-companies-entity-list          (describing
   adding NSO to the Entity List for “malicious cyber activities” and “for engaging in activities that are
28 contrary to the national security or foreign policy interests of the United States”).

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH             Document 573        Filed 03/06/25      Page 16 of 27




 1       II.   Mr. Minkler Is Not Qualified to Opine on Whether U.S. or Foreign Law Enforcement
 2             Could Legally Use Pegasus
 3             A purported expert must be “qualified . . . by knowledge, skill, experience, training, or
 4 education.” Fed. R. Evid. 702. “[C]ourts routinely exclude expert testimony where the expert’s

 5 opinion is not within the scope of his expertise.” Surgical Instrument Serv. Co. v. Intuitive Surgical,

 6 Inc., 2024 WL 1975456, at *1 (N.D. Cal. Mar. 31, 2024) (citing Avila v. Willits Env’t Remediation

 7 Tr., 633 F.3d 828, 839 (9th Cir. 2011)). Here, the Court should find that Mr. Minkler is unqualified

 8 to opine on whether U.S. or foreign law enforcement could legally use Pegasus.

 9             Mr. Minkler purports to opine on the legal “parameters” in which “federal law enforcement
10 could lawfully deploy Pegasus or similar software capabilities in the United States,” Report ¶ 40,

11                                                                                    Mr. Minkler, however,
12 is not an expert on Title III or FISA, either as it currently exists or in a hypothetical future scenario

13 in which U.S. law enforcement intends to use Pegasus. This is evidenced by his confusion about

14 federal law. In his report, Mr. Minkler writes “Title III of the Electronic Communications Privacy

15 Act, 18 U.S.C. 2510, et seq., has specific requirements that must be met before a wiretap may be

16 issued . . . .” Report ¶ 37. That statement is wrong. It is Title III of the Omnibus Crime Control and

17 Safe Streets Act of 1968 (the “Wiretap Act”) that has specific requirements for when a wiretap may

18 issue. See 18 U.S.C. §§ 2510–23. Title I (not Title III) of the Electronic Communications Privacy

19 Act (the “ECPA”) amended the Wiretap Act. See id. Title III of the ECPA is not about wiretaps at

20 all, but rather is about pen registers and trap and trace devices. See 18 U.S.C. §§ 3121–3127.

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26             Mr. Minkler’s confusion on Title III is troubling given that Mr. Minkler is offering an opinion
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573           Filed 03/06/25   Page 17 of 27




 1 on how the hypothetical use of Pegasus by law enforcement could be consistent with Title III. See

 2 Takeda Pharms, 2015 WL 13877466, at *1 (striking expert opinion where the purported expert “was

 3 characterized as an expert in FDA procedures, yet he relied at one point on the wrong regulations”).

 4 This point of confusion is just the tip of the iceberg.

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15          Mr. Minkler’s insufficient qualifications to opine on FISA are also apparent from his
16 deposition testimony.

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21          With respect to opinions about the purported “lawful surveillance” used by foreign
22 governments,” Report at 21, Mr. Minkler has no qualifications whatsoever. In his report, Mr. Minkler

23 opines on purported “lawful surveillance” by foreign countries, based on information he read in

24 preparing his report. See id. ¶¶ 50–54; Tr. at 159:24–160:6; 256:23–261:5.

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 18 of 27




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 7          Accordingly, the Court should determine that Mr. Minkler is not qualified to opine on the
 8 legal parameters (current or future) for electronic surveillance by law enforcement (within or outside)

 9 the United States.

10   III.   Mr. Minkler’s Opinions Should Be Excluded Because They Are Not Reliable
11          Experts relying on their experience, like Mr. Minkler, must “explain how that experience
12 leads to the conclusion reached, why that experience is a sufficient basis for the opinions, and how

13 that experience is reliably applied to the facts.” Fed. R. Evid. 702 advisory committee’s notes to

14 2000 amendment; see United States v. Cerna, 2010 WL 11627594, at *6 (N.D. Cal. Dec. 17, 2010)

15 (citing Hankey, 203 F.3d at 1168). The district court may then examine “whether the expert’s

16 experience supports the expert’s conclusions,” “whether the expert’s reasoning is circular,

17 speculative, or otherwise flawed,” or “whether the expert’s reasoning is adequately explained.”

18 United States v. Holguin, 51 F.4th 841, 855 (9th Cir. 2022), cert. denied, 143 S. Ct. 2509 (2023).

19 “Reliability becomes more, not less important” when expert opinion is based on experience rather

20 than scientific knowledge. United States v. Valencia-Lopez, 971 F.3d 891, 898 (9th Cir. 2020)

21 (emphasis added).

22          Mr. Minkler’s experience fails to provide a reliable basis for many of the opinions he offers.
23          First, Mr. Minkler’s opinions on the hypothetical use of Pegasus by U.S. law enforcement
24 are not “based on sufficient facts or data” because there are no facts or data indicating that U.S. law

25 enforcement actually uses, or even intends to use, Pegasus. Fed. R. Evid. 702(c); see supra at 1–2,

26 10. Because Rule 702 requires an expert’s opinion to be “based on sufficient facts or data,” a court

27 “may reject wholly speculative or unfounded testimony.” Elosu v. Middlefork Ranch Inc., 26 F.4th

28 1017, 1025 (9th Cir. 2022). The Court should preclude Mr. Minkler’s wholly speculative and

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 19 of 27




 1 unfounded opinions on the hypothetical use of Pegasus by law enforcement. See ThermoLife Int’l,

 2 LLC v. Gaspari Nutrition Inc., 648 F. App’x 609, 614 (9th Cir. 2016) (excluding opinion on damages

 3 based on estimated market share where there was no evidence in record regarding customer

 4 preferences).

 5           Second, Mr. Minkler’s opinions on the lawfulness of electronic surveillance by foreign law
 6 enforcement are unreliable and do not reflect any specialized expertise.

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 9 Without any specialized expertise in the area, Mr. Minkler is unqualified to testify on this topic. See

10 supra at 10–12. Because he has no expertise in this area, his opinions on the topic are also

11 unreliable. See Ripple Labs, 2024 WL 4583525, at *2 (An expert opinion is “reliable if the

12 knowledge underlying it ‘has a reliable basis in the knowledge and experience of [the relevant]

13 discipline.’” (alteration in original) (quoting Kumho Tire, 526 U.S. at 149)).

14          The unreliability of Mr. Minkler’s testimony on foreign law enforcement is readily apparent.
15 To fill the gap in his qualifications, Mr. Minkler relies on a “Comparative Study on Wiretapping and

16 Electronic Surveillance Laws in Major Foreign Countries” that was published in 1975. See Report,

17 Appendix B; Tr. at 110:6–112:6.

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21                          The Court should exercise its gatekeeping function to preclude the jury from
22 hearing Mr. Minkler opine on topics about which he knows nothing and, as a result, will do “no more

23 than regurgitate information given to him by other sources,” including a study published in 1975.

24 Dep’t of Toxic Substances Control v. Technichem, Inc., 2016 WL 1029463, at *1 (N.D. Cal. Mar. 15,

25 2016) (“When he is not simply speculating, [expert] often does no more than regurgitate information

26 given to him by other sources (including self-serving assertions by the defendants).”).

27          Third, Mr. Minkler should be precluded from testifying about opinions premised on
28 undisclosed sources, because those opinions both violate Rule 26 and are unreliable.                 Rule

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 20 of 27




 1 26(a)(2)(B)(ii) requires the disclosure of all “facts or data considered by the witness” in forming

 2 expert opinions. Fed. R. Civ. P. 26(a)(2)(B)(ii); see SEC v. Reyes, 2007 WL 963422, at *1 (N.D.

 3 Cal. Mar. 30, 2007) (“When experts serve as testifying witnesses, the discovery rules generally

 4 require the materials reviewed or generated by them to be disclosed, regardless of whether the experts

 5 actually rely on those materials as a basis for their opinions.”). Mr. Minkler’s report repeatedly

 6 quotes witness testimony without any source. See, e.g., Report ¶¶ 12–13, 19.

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17          Mr. Minkler’s use of unidentified, unexplained sources violates Rule 26 and renders his
18 opinions unreliable. “As a prerequisite to making the Rule 702 determination that an expert’s

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 21 of 27




 1 methods are reliable, the court must assure that the methods are adequately explained.” United States

 2 v. Hermanek, 289 F.3d 1076, 1094 (9th Cir. 2002). An expert who bases his opinion in personal

 3 experience must nonetheless “detail the knowledge, investigatory facts and evidence he was drawing

 4 from.” Id. Not having done so, and having violated Rule 26’s disclosure obligations, Mr. Minkler’s

 5 opinions should be precluded. See Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 87 F.

 6 Supp. 3d 928, 949 (N.D. Cal. 2015) (finding that an expert is precluded from relying on phone

 7 conversations he had with witnesses because he failed to timely disclose the conversations under

 8 Rule 26 and the opposing party only learned about them during the witnesses’ deposition).

 9          Fourth, Mr. Minkler’s opinions on law enforcement trends or specific law enforcement
10 investigations for which he has no personal experience or specialized knowledge are not reliable

11 because they are not “based on sufficient facts and data.” For example, Mr. Minkler’s expert report

12 opines that end-to-end encryption presents limitations to law enforcement “in several cases, including

13 cases of child exploitation” and “the realm of national security.” See Report ¶¶ 45–48.

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23          Mr. Minkler has no reliable basis to testify about the particular challenges faced by law
24 enforcement in investigations in which he was not involved. Lacking his own knowledge, Mr.

25 Minkler instead repeats (some) facts that he obtained from public sources. See Report ¶¶ 45–48; Tr.

26 at 250:10–252:22. The Court should preclude as unreliable Mr. Minkler’s testimony about specific

27 prosecutions or law enforcement trends based on parroting back public sources. See, e.g., Williams

28 v. Illinois, 567 U.S. 50, 80 (2012) (“[T]rial courts can screen out experts who would act as mere

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573         Filed 03/06/25      Page 22 of 27




 1 conduits for hearsay by strictly enforcing the requirement that experts display some genuine

 2 ‘scientific, technical, or other specialized knowledge.’” (quoting Fed. R. Evid. 702(a)); see also

 3 Caldwell v. City of S.F., 2021 WL 1391464, at *5 (N.D. Cal. Apr. 13, 2021) (“The Ninth Circuit has

 4 recognized that experts cannot insert non-existent facts into the record through their expert reports”

 5 and parties cannot “use experts as mere ‘conduits’ for otherwise inadmissible evidence.”). 9

 6          Fifth, any opinion by Mr. Minkler related to NSO’s customers or contracts with its customers
 7 is unreliable. Mr. Minkler opines that he has “verified that NSO’s [customer] contracts contain

 8 clauses related to human rights and lawful intelligence gathering,” Report ¶ 34,

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10                                                               Mr. Minkler testified to doing nothing to
11 corroborate that the rest of NSO’s customer contracts contained similar language. Id. at 119:18–20.

12 While an expert may assume facts in their analysis, those facts must have some support in the record,

13 but because NSO’s contracts were not produced and                                         , Mr. Minkler’s
14 opinions are unsupported speculation and should be properly disregarded by this Court. See Stephens

15 v. Union Pac. R.R. Co., 935 F.3d 852, 856 (9th Cir. 2019); Caldwell, 2021 WL 1391464, at *5.

16 Further, even if all of NSO’s customer contracts were disclosed,

17                      is an insufficient basis to extrapolate a conclusion about what NSO “contractually
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19     Testimony on child sexual exploitation, national security, or other sensitive issues should also be
     precluded under Rule 403, given the irrelevance of these topics to any issue for the jury and the
20   substantial risk of unfair prejudice and juror confusion. See, e.g., Doe v. Bridges to Recovery, LLC,
     2021 WL 4690830, at *8 (C.D. Cal. May 19, 2021) (finding that it would be unduly prejudicial to
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     allow an expert to opine on the issue of “sexual exploitation”); Planned Parenthood Fed’n of Am.,
22   Inc. v. Ctr. for Med. Progress, 480 F. Supp. 3d 1000, 1010 (N.D. Cal. 2020) (excluding evidence
     relating to legality of plaintiff’s abortion procedures because the “raging [public] debates” on the
23   topic “are barely, if at all, relevant to the causes of action that will be tried to the jury,” and “will
     confuse the jury about the issues it needs to decide, waste a significant amount of trial time, and be
24   prejudicial”), aff’d, 2022 WL 13613963 (9th Cir. Oct. 21, 2022); Giganews, Inc. v. Perfect 10, Inc.,
25   2019 WL 1422723, at *5 (C.D. Cal. Mar. 13, 2019) (excluding evidence that child pornography was
     uploaded to plaintiff’s servers because “[s]uch evidence is irrelevant, and any marginal relevance it
26   may have is outweighed by the risk of undue prejudice”); see also Waymo LLC v. Uber Techs., Inc.,
     2018 WL 646701, at *22 (N.D. Cal. Jan. 30, 2018) (holding that it is improper under Rule 403 for
27   one party to “devote[] time and effort to describing salacious and inflammatory details . . . that have
     no discernible relevance to the claims in this case in an apparent bid to poison the judge, if not the
28   jury, against [the other party]”).
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 573       Filed 03/06/25      Page 23 of 27




 1 requires,” Report ¶ 34, of all customers. See In re Wells Fargo & Co. S’holder Derivative Litig., 445

 2 F. Supp. 3d 508, 530 (N.D. Cal. 2020) (“[I]t is not possible to draw meaningful conclusions from

 3 such a small sample size because the data is not statistically significant.”), aff’d, 845 F. App’x 563

 4 (9th Cir. 2021); Am. Honda Motor Co. v. Allen, 600 F.3d 813, 818 (7th Cir. 2010) (“[A] sample size

 5 of one is rarely, if ever, sufficient.”).

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 7                 This fact is unsurprising given that NSO has refused to produce such a list in discovery,
 8 arguing “[n]either Plaintiffs’ claims nor NSO’s defenses rise or fall on those identities” of NSO’s

 9 customers, Dkt. No. 249-2 at 13. It is unfair for NSO to resist production of its customer list on the

10 basis that the information is irrelevant, while now seeking to inject expert testimony on this topic into

11 the damages trial. In any case, the absence of record evidence concerning the identity of NSO’s

12 customers should preclude Mr. Minkler from offering any opinions on this topic. See Elosu, 26 F.4th

13 at 1025; ThermoLife, 648 F. App’x at 614; In re Leap Wireless Int’l, Inc., 301 B.R. 80, 85 (Bankr.

14 S.D. Cal. 2003).

15          Sixth, Mr. Minkler’s opinion on NSO’s state of mind, including with respect to developing
16 Pegasus, should be excluded because it is unreliable, does not reflect any specialized expertise, and

17 improperly invades the province of the jury. See Gold v. Lumber Liquidators, Inc., 323 F.R.D. 280,

18 294 (N.D. Cal. Nov. 15, 2017) (“Courts routinely exclude expert testimony as to intent, motive, or

19 state of mind as issues better left to a jury.”); Stanley v. Novartis Pharms. Corp., 2014 WL 12573393,

20 at *6 (C.D. Cal. May 6, 2014) (“[T]he opinions of [expert] witnesses on the intent, motives, or states

21 of mind of corporations . . . have no basis in any relevant body of knowledge or expertise”) (quotation

22 omitted) (alteration in original)); Solta Med., Inc., 2024 WL 5199905, at *12 (excluding expert

23 testimony about what a corporate defendant knew).

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 24 of 27




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 4                                      Mr. Minkler’s opinion,                            , is not the result
 5 of any independent analysis. Rather, it is merely an impermissible conduit of hearsay because—in

 6 his own words—“[t]he documents speak for themselves.” Id. Experts may not simply regurgitate

 7 documents. See Siqueiros v. Gen. Motors LLC, 2022 WL 74182, at *9 (N.D. Cal. Jan. 7, 2022) (“An

 8 expert . . . may not restate or summarize record evidence and then state a conclusion without applying

 9 a methodology that is reliable and which evinces his/her expertise.”); Exeltis USA Inc. v. First

10 Databank, Inc., 2020 WL 7025089, at *5 (N.D. Cal. Nov. 30, 2020) (“[E]xpert testimony that ‘merely

11 summarizes the record evidence and gratuitously interprets it’ is improper.” (quoting Lord Abbett

12 Mun. Income Fund, Inc. v. Asami, 2014 WL 3417941, at *13 n. 8 (N.D. Cal. July 11, 2014)));

13 Technichem, 2016 WL 1029463, at *1 (excluding expert opinion that “often does no more than

14 regurgitate information given to him by other sources”).

15          Finally, Mr. Minkler should be precluded from offering any opinion weighing the benefits to
16 the public in law enforcement’s hypothetical use of Pegasus versus the risks of such use, because

17 such opinion is speculative and unreliable. See Venture Corp. v. Wherify Wireless, Inc., 2005 WL

18 5960919, at *1 (C.D. Cal. Sept. 23, 2005) (“The Court has the authority and responsibility to exclude

19 expert testimony that is speculative or unreliable.”). As indicated above, Mr. Minkler has no basis

20 to opine on U.S. law enforcement's hypothetical use of Pegasus or foreign law enforcements’ use of

21 Pegasus. See supra at 10–12. He thus has no basis to speculate on the benefits or risks of such use.

22 See Laux v. Mentor Worldwide, LLC, 295 F. Supp. 3d 1094, 1102–03 (C.D. Cal. Nov. 8, 2017)

23 (excluding an expert from providing his opinion where his expert report failed to explain his

24 methodology and was based simply on the expert’s “because I said so” opinion, without facts, data,

25 or reliable principles and methods to support the conclusion), aff’d, 786 Fed. App’x 84 (9th Cir.

26 2019).

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 573        Filed 03/06/25       Page 25 of 27




 1   IV.     Mr. Minkler’s Testimony Should Be Excluded under Rule 403 Because of the
 2           Substantial Risk of Unfair Prejudice, Confusing the Jury, and Wasting Time
 3           Mr. Minkler’s testimony should be precluded under Rule 403 because of the substantial risk
 4 of unfair prejudice, confusing the jury, and wasting time. Because Mr. Minkler’s opinions are all

 5 irrelevant to any fact issue for the jury to decide, his offered testimony seems, at its core, to go to

 6 NSO’s policy argument that it should not be liable in this case because its technology has a

 7 (theoretical) beneficial use to law enforcement. But this policy argument should not reach the jury.

 8 The jury’s role is to decide issues of fact and not make policy judgments. See United States v. Harris,

 9 863 F.2d 887 (9th Cir. 1988) (“The jury’s obligation is to apply the law to the facts and the defendant

10 is not entitled to a ‘nullification instruction’ which would instruct the jury to ignore the law and acquit

11 on the basis of sympathy or community conscience.” (quoting United States v. Simpson, 460 F.2d

12 515, 519–20 (9th Cir. 1972)); see also Shannon v. United States, 512 U.S. 573, 576 (1994) (noting

13 the “well-established principle that a jury is to base its verdict on the evidence before it, without

14 regard to the possible consequences of the verdict”).

15           The Court has already rejected NSO’s purported law-enforcement defense when it found NSO
16 liable on Plaintiffs’ claims, and NSO should be precluded from making the same irrelevant policy

17 argument before the jury in the guise of expert testimony. See, e.g., Retamosa v. Target Corp., 2021

18 WL 4499236, at *1 (C.D. Cal. May 4, 2021) (granting motion in limine to preclude evidence or

19 argument that “a verdict for [party] will somehow make the community a safer and better place to

20 live and work” because such evidence was “irrelevant to actual damages alleged . . . and ha[d] a

21 substantial likelihood of unfairly prejudicing the jury [by] encourag[ing] the jury to render a verdict

22 based on personal interest and bias rather than on the evidence”); Serna v. Costco Wholesale Corp.,

23 2024 WL 4720884, at *3 (C.D. Cal. Sept. 16, 2024) (granting motion in limine to preclude

24 “arguments meant to appeal to a jury’s concern for community safety,” noting further that neither

25 party should “present theories of the case or arguments that would encourage the jury to make a

26 decision on an improper basis”). “Jurors may well assume that an expert, unlike an ordinary mortal,

27 will offer an authoritative view on the issues addressed; if what an expert has to say is instead

28 tangential to the real issues, the jury may follow the ‘expert’ down the garden path and thus focus

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25      Page 26 of 27




 1 unduly on the expert’s issues to the detriment of issues that are in fact controlling.” Rogers v.

 2 Raymark Indus., Inc., 922 F.2d 1426, 1431 (9th Cir. 1991).

 3                                             CONCLUSION
 4          For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion to
 5 exclude the expert opinions of Mr. Minkler.

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY - CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 573        Filed 03/06/25     Page 27 of 27




      Dated: March 6, 2025                         Respectfully Submitted,
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